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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                                 )
IN   RE PETITION OF GEOFFREY SHEPARD ) Misc, No, 1L-0044 (BAH)
                                                 )



             MOTTON TO NARROW REQUEST FOR UNSEALTNG


      Government counsel has requested Petitioner to consider narrowing
the scope of his request to unseal certain grand jury documents, in addition
to the Road Map itself, Herein is his suggestion for this Honorable Court.


BACKGROU     ND




       The Road Map is the centerpiece of the effort by Watergate
prosecutors to reach Richard Nixon "at all cost", the characterization used by
Special Prosecutor Leon Jaworski in his January 2L, 1974 memo complaining
about the lack of objectivity within his     staff.l They had convinced
themselves that they had uncovered evidence that President Nixon had
personally directed payment of Howard Hunt's monetary demands                  -   and
were eager to get that information to the House Judiciary Committee, so it
could form the basis for Nixon's impeachment.


       While unsealing the Road Map itself is important, even more crucial to
appreciating the prosecutor's devastating initiative, are any transcripts of
what they told Watergate grand jurors during January and February of 1974.


11"Now let me address myself to the general tenor of your memorandum which reflects an
attitude ldiscussed with you before-the subjective conviction thatthe President must be
reached at all cost".
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 After all, the grand jury was not reading the investigation,
                                                              watergate
 prosecutors were' The central issue is this: "What
                                                      did the prosecutors say
 that convinced grand jurors both (i) to name Richard Nixon
                                                               as an unindicted
 co-conspirator in the Watergate cover-up and (ii) to adopt
                                                              the prosecutor-
 drafted Road Map as their own?,,


      The critical portion of the Road Map is how it treats the events
                                                                       of
 March 21 and 22, t973. This begins with John Dean,s
                                                         meeting with
 President Nixon from   ro t2 to 11:55am    on the morning of wednesday,
 March 21st. Known as Dean's "cancer on the presidency,,
                                                            speech, Dean, for
 the first time, detailed some specifics of the ongoing cover-up _
                                                                    and
 revealed that Howard Hunt was threatening to disclose some
                                                                of the ..seamy
things" he had done for the Nixon White House if his monetary demands
were not met (particularly the break-in into the offices of Dr. Louis
                                                                      Fielding,
Daniel Ellsberg's psychiatrist).


      while Nixon did toy with the idea of meeting Hunt,s demands, it was
only in the context of buying time to get out ahead of Hunt's threatened
disclosures. It is clear from the White House tapes that the Dean meeting
ended with nothing more than the decision to invite John Mitchell
                                                                   down from
New York to assist in working out a solution. Nixon's circle
                                                             of advisors met
again laterthat afternoon, from 5;20 to 6:01pm, and again with
                                                                  Michell the
following day, from I:57 to 4:43p - so there are at least two more
                                                                   critical
tape recordings which are already in the public domain.


      Most significantly, these recordings show that Nixon had decided
                                                                       that
the proper course would be for the white House itself to initiate the
disclosures which Hunt was threatening - and the way to do that
                                                                was for
him to announce that new information had come to his attention,
                                                                that as     a
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result he was calling for a renewed investigation, and that members of his
staff would be made available to testify without claim of executive privilege.
It was agreed at the meeting on March 22nd that Nixon would use as the
basis for such action a report that John Dean had agreed to prepare.


     This was a positive and quite proper response, but never came to
fruition. Since he had been running the cover-up/ apparently without
informing Nixon or his senior staff of any specifics regarding his own criminal
activities (in addition to obstruction of justice). These included subornation
of Magruder's perjured grand jury testimony, destruction of evidence
removed from Hunt's office safe, improper sharing of prosecutorial
information with counsel for the Watergate burglars, and embezzlement of
94,000 of campaign funds to pay for his planned honeymoon. Dean quickly
realized that any report he could prepare would constitute a confession of
his own   guilt. So instead, he retained criminal defense counsel and sought
out Department of Justice prosecutors in pursuit of personal immunity.


       But something else occurred that same Wednesday evening, which
triggered the prosecutors'fondest hopes: the final "hush money" payment
was made to Hunt's lawyer at approximately 10 pm that very night, Entirely
on their own (that is, without benefit of testimony from any witness   *   then
or in the decades since), Watergate prosecutors concluded that Nixon must
have ordered that payment to be made, While this conclusion turned out to
be in error (confirmed by the sworn testimony of the government's own
witnesses), it is little wonder the Watergate Special Prosecution Force
became so antagonistic toward Richard Nixon and so determined to provide
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the House Judiciary Committee with what they had concluded was clear
evidence of his personal wrongdoing.'


    Petitioner readily concedes that it is not vital to his case for the entire
Road Map to be unsealed. While he would like to see the full version, his
real focus is on only two things:
    .   The Road Map section(s) that address events of March 2L and 22,
        1973, and
    .   Revelation of whether the Road Map's accompanying materials
        included copies of any White House tapes (particularly of meetings
        occurring in the above referenced time frame).


   In addition, and most importantly, Petitioner seeks the unsealing of
transcripts of any statements made by prosecutors to the grand jurors with
regard to President Nixon or to these particular meetings. These transcripts
of prosecutorial assertions, if they exist, would have been made during
January and February of 1974, and would particularly include statements
made on February 25th, the date it is said that Leon Jaworski asked the
grand jury to name Nixon as a co-conspirator. NB: Petitioner does not seek
the unsealing of any actual witness testimony before the grand iury, he
seeks only the unsealing of prosecutorial representations made to the grand
jurors with regard to the actions of President Nixon.


ARGU    M   ENT




2
 A detailed recitation of prosecutors' reactions can be found in Ben-Veniste, Richard and
George Frampton, Jr. Stonewoll: The Real Story of the Watergate Prosecution. Simon and
Schuster (L977), Chapter 10, "Le Grand Fromage", pp.2L1'-254.
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       Petitioner would make an additional point: the issue is not only one of
grand jury secrecy; it is also one of grand jury abuse, The Road Map was
the product of a corrupt bargain between Watergate prosecutors and Chief
Judge John Sirica, to   wit:   Prosecutors would bring the cover-up indictments
in time for Sirica to name himself as trial judge, in exchange for his support
of their plan to forward grand jury materials to the House Judiciary
Committee.


  The evidence of this is clear    -   and attached to this Motion:


   .   In a January 27, t974 memo to Special Prosecutor Leon Jaworski,
       Philip Lacovara described a most creative approach to aCcomplish such
       transmittal, which would ordinarily be in flagrant violation of grand
       jury secrecy rules. As a part of the plan, he urged an ex parte
       approach to Judge Sirica, to give him advance notice of prosecutors'
       anticipated approach, which was sure to come before him for a ruling,
       [See Exhibit A.]
   .   Jaworski's memo to his confidential Watergate file dated February 12,
       L974, described his ex parte meeting with Judge Sirica, wherein he
       detailed prosecutors'plan and listened again to Sirica's own urging
       that the indictments be returned in a timely manner, such that he
       could name himself to preside at that trial. NB: These apparently are
       the only two topics discussed at this particular ex parte meeting, [See
       Exhibit B.l
   .   Jaworski's memo to his confidential Watergate file of March    1st

       described his additional ex parte meetings with Judge Sirica on the
       morning of March 1't, where the two rehearsed how the prosecutors (i)
       would present the indictments in such a manner that Sirica could
       name himself to preside at trial, and (ii) would present the Road Map
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      and related materials for Sirica's transmittal to the House of
       Representatives. ISee Exhibit C]


    Talk about a cover-up: these revealing documents were kept secret for
over four decades, as the top three Special Prosecutors each improperly took
their sensitive Watergate files with them when they left office. Jaworski's
Watergate files did not surface until 2013, when discovered, recovered and
subsequently made available by the National Archives in response to
Petitioner's FOIA request. Watergate files of Archibald Cox are kept in the
Treasure Room of Harvard's law library, as are those of Associate Special
Prosecutor James Vorenberg (whose key staff meeting notes only became
available for review, in response to Petitioner's continued reqr.iests, in 2015).


    There is further evidence of grand jury abuse in connection with Richard
Nixon:


      The grand jury took a straw poll on whether to indict President Nixon
       and did so with Watergate Task Force deputy Richard Ben-Veniste in
       the room, at least according to the statement of grand juror George
       Gross.3
                                                                                       a
       Vorenberg's staff meeting notes contain records of the following:
          o    That Judge Sirica had approved the format of the proposed
               grand jury report (in what must have been another ex parte
               meeting with Jaworski).




3
 A Brian Lapping Associates Production for the Discovery Channel and BBC (1994), vol. 3, The
Foll of o President.
a Reproduced and analyzed in Petitioner's website at: http://geqf{ghe$ard.cqm/wp:
co n tgrt/ u p o a d s / 20 1 5 /06 /Vof e n b e rs-J! ote s- 2- 2 8- 7fur d f
           I
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             o   Jaworski's expressed surprise that, when he appeared before the
                 grand jury on February 25th to recommend that it name Nixon as
                 an indicted co-conspirator, he got only three questions.
             o   Jaworski's report that he had urged Sirica not even to hold a
                 hearing on whether to forward the Road Map to the House of
                 Representatives.


         It is little wonder the competing Petition to unseal the Road Map,
which appears to be based on the hope that it would provide a clear
precedent for transmittal of grand jury information concerning President
Trump, seeks to unseal only the Road Map itself and none of the underlying
rational for its creation or adoption by the Watergate grand juiy.s


     In that regard, it also seems clear that the Road Map's transmittal to
the House cannot be a valid precedent for today, both because of the
prosecutorial and judicial abuse described above, and for the reason that the
White House itself did not contest the proposed transmittal, so there was no
actual contest between the proper parties.6


CONCLUSION


         Petitioner's issues and concerns go to the very heart of Watergate
prosecutors' secret allegations against President Nixon. The President's
White House defense team (of which Petitioner was a part) had no idea of
their specificity - that Nixon must have personally ordered that Hunt's
monetary demands be met. As importantly, that allegation happens to be
completely untrue. Had Nixon's defenders known of the specific accusation,


s   Petition of Beniamin Wittes , et al,1:1-8 - mc - 00 (BAH)
6
    See Haldeman v Sirica,50LF.2d7L4 (D.C. Cir.I974), cert. denied, 418 U.S. 955 (L974)
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they could have refuted    it.   Had Nixon known, he would never have resigned
-   since he would have known it to be completely untrue.


But Nixon had already resigned by the time the cover-up trial commenced.
While the prosecutors promised in their opening statement to show Nixon's
personal involvement, their story came completely apart when their own
witnesses, when under oath and subject to cross-examination, told an
entirely different version (particularly Fred LaRue, who had been the "hush
money" paymaster): Nixon simply did not and could not have directed the
final payment to Hunt's counsel on the evening of March 2L, L974.


         But the damage from the grand jury's naming Nixon as 'an unindicted
co-conspirator and its adoption of the Roadmap as its own, as well as the
outcome of the secret briefings of House Judiciary Committee chief counsel
John Doar, had already done irreparable damage to Richard Nixon and to his
presidency.


         The fact remains that we may well have lost a President based on
untrue representations, conveyed in total secrecy, to Watergate grand jurors
and to the House Judiciary Committee staff. Unsealing relevant portions of
grand jury transcripts will show whether this be true.


Surely this Court, and this Chief Judge in particular, has an interest (if not
an obligation) to examine credible claims of prosecutorial and judicial
misconduct, as well as of grand jury abuse. Evidence of which includes:


     .   Judge Sirica's series of ex parte meetings with Watergate prosecutors,
         including Archibald Cox, Leon Jaworski, Philip Lacovara, Henry Ruth,
         Earl Silbert and Richard Ben-Veniste, as well as his ex parte meetings
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         with other parties with interests that were adverse to President Nixon,
         including Samuel Dash (chief counsel to the Senate Ervin Committee),
         Clark Mollenhoff (Nixon's former special counsel), and Edward Bennett
         Williams (counsel both to the Washington Posf and the Democratic
         National Committee).7
         Prosecutors failure to share clearly exculpatory evidence of the
         dramatically changes in testimony of its two principle witnesses (John
         Dean and Jeb Magruder) during the course of their meetings with the
         original DOJ prosecutors.B
         Judge Sirica's temporary sentencing of John Dean, shortly before trial,
         to a prison term of L-4 years,e gleefully cited by prosecutors as
         substantially increasing his witness credibility,l0 only to ieduce his
         sentence to "time served" on his own motion but a week after the
         cover-up convictions had been achieved. More recently, Dean has
         bragged that he had been put in a witness protection program and had
         never spent a single night in jail (while all of America, as well as the
         trial jury, was told quite a contrary story).
         Archibald Cox's own ex parte meeting with Chief Judge David Bazelon
         of the DC Circuit to urge stacking the deck on any appeals, to be sure
         that Sirica's pro-prosecution conduct did not lead to reversals on
         appeal,11


NARROWED MOTION TO UNSEAL



7
 Shepard, Geoff. The Reol Wotergate Scondal, Collusion, Conspiracy, ond the Plot thot Brought
Nixon Down (Regnery, 2OI5), Chapter 4,"The Secret Meetings Between Judges and Watergate
Prosecutors", pp.49-66.
I tbid. ChapterT, "Evenhanded, Nonpartisan Prosecutors", pp. 163-180.
stbid. Chapter 6, "A Fair and lmpartialTrialJudge", pp. L28-139.
10
     Ben-Veniste, Op. Cit. p. I07 .
11
     Shepard, Op. Cit. Chapter B, "The Automatic Right to an Appeal", pp.202-227.
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       Petitioner would prefer that the remainder of the full Road Map and
transcripts of any related prosecutorial representations made to the
Watergate grand jury during January and February of L974 be unsealed.


As an initial step, however, he would offer the following:


       NARA confirmation       that materials transmitted to the House that
       accompanied the Road Map included copies of White House tapes.
       This is significant because it is settled law, due to the Separation of
       Powers structure of our Constitution, that Congress cannot require the
       Executive to produce anything against its            will. They have the powerto
       impeach, of course, but not the power to require disclosure.r2 Forced
       transmission of copies of White House tapes would not only violate
       grand jury secrecy rules, but also seem to be unconstitutional as                  a

       matter of law. If it becomes clear that copies of White House tapes
       were not transmitted, then Petitioner will withdraw that portion of his
       motion to unseal.
       In Camera review by this Court of any transcripts of prosecutorial
       representations during January and February of I974 that accuse
       President Nixon of having personally directed payment of Howard
       Hunt's monetary demands. The paper trail leading up to the grand
       jury door suggests this was their intent, but either they did or they did
       not make such representations. If they did not, or there is no grand
       jury transcript of what was represented, then Petitioner will withdraw

12
   President Nixon voluntarily submitted transcripts of some 48 conversations to the House
Judiciary Committee on April 30,L974 and said he would allowthe chairman and ranking
member to listen to the actualtapes, in order to confirm the accuracy of these transcripts, if
they so choose. Yet on June 25th, the Committee published its own transcriptions of the same
eight conversations originally turned over in the fall of L973, in response to a Watergate grand
jury subpoena issued on July 23'd. One wonders how the Committee obtained these tapes if
not transmitted as a part of the Road Map.
                                                                                               10
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      that portion of his motion to unseal. If they did, as petitioner has
      every reason to believe, then it would be appropriate to explore what
      portions might be proper to unseal,


 Dated: November 5, 2018                   Respectfu lly su bm itted,


                                                 ' Geoffrey C. Shepard
                                           GEOFFREY C. SHEPARD
                                           fNote New Mailing Address]
                                           535 Gradyville Road, Unit 11BS
                                           Newtown Square, pA 19073
                                           Tel: 610-389-5779
                                           Ema il : geoff@geoffshepard. com


Attachments

                         CERTIFICATE OF SERVICE
I hereby certify that on this date, I caused a copy of the foregoing motion to
be sent through electronic mail, to the following:

ELIZABETH J. SHAPIRO
United States Department of Justice
1100 L Street, NW, Room 12100
Washington, D.C. 20530
Tel: (202) 514-5302
Fax: (202) 616-8460
elizabeth.shapiro@usdoj.gov, Attorney for the United States

Dated: November 5, 2018
                                             ' Geoffrey C, Shepard
                                             Geoffrey C. Shepard




                                                                              LL
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                                                           sl/qrT /l
                                         \
                                         rj


 WATERGATE SPECIAL PROSECUTION FORCE              DEPAR.TMENT     OI JUS'fiCE

Memorandum
TO       Leon Jaworski                            DATE:   January 2L,     L97   4
         Special. Prosecutor

FROM   : Philip A. Lacovara
         Counsel to the Spe
          Prosecutor
suBJEcr: PresenLrnentby Watergate Grand Jury Concerning'
         the President

       As part of our consj-deration of the most appropri-ate t^ray of
dealing witn evidence Lending to implicate the. trresident in the
Watergate cover-up, we have d-iscussed. the possibility of advisinq
the grancr lury that it mal' return a presentment setting forth its
vier./s of the President t s conrplicity even though it might be
determ'ined as a matter of law or policy that the President should
not be indicted.. Peter Kreindler was asked to prepare a memoran-
dum on this subject and he has reached the conclusion, reflected
in the attached memorandum, that submission of such a presenl-
ment by Lhe grand jury vrould be constitutional. I have been
discussing this subject with him since the beginning of his
resea-rch and am f amil-iar with the authorities. I agree with his
analysis and conclusions in all respect,s.
       ff you agree that presentment in lieu of either indictment
or non*action is the proper mode to pursue, there remains the
question of procedure. Specifically, the relative rarity with
which presentments are filed in fed.eral courts rnakes it desir-
able to advise Chief'Judge Sirica j-n advance of this proposed
course. It would be most unfortunate, for example, for the
grand. jury to return a presentment without forewarning and then
have the judge summarily refuse to receive it because of his
lack of awareness of the basis for such a submis."ion. F1or.re."'er,
it is also quesLionable vrhether we should discuss this procedure
with the chief jud.ge before the grand jury, whose decision would
be involved, has had an opportunity to consider this possible
course. Yet there vrould be some risk in discussing such an
approach i^iith'the grrand jury, and perhaps planting a seed that
could not be unsoilrn, before the judge has at least tentativell,
indicated that he would be prepared to accept such a presentment.
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                                   -2

      In light of all of the foregoing factors, I          recon'unend the
followingi coursei
       L. That you decide formalLy and as.guickly            as possibl-e
what advice yoir-vrant given to thl ,g{ald       Jdty   in-your-capacity
                                                     -president''s
as its counsel    on  the guestions  of- (a)   the                  indict-
ability as a matter of lavr, &) the pol"ilY         .factors    concerning
indictrnent of an incumbent Presidentl        and (c) th9 propriety ?f
lhe grana 3ury;s "uriission or a presentment            naming the Presi-
a.rtl-"iin6i i1 op"r,    court or undlr seal,      with    a request that
it be forwarded, to the House committee        on  the   Judiciary'     !{y.
own recommend.ation is that the     grand   jur-y  be   told   (a) we  believe
that the President can constitut'ionally         be indicted for the
crime of obstr,r"[i"" "f    justice  but  tfrat   t19. qYu."tion. is sub-
:""t-t.-considerable     dount,  and therefore       (bI in-lig'h!. of the
severe dislocations that *oria immediately flow ffo*              the naming
                                 criminal defendant, it
of a sitting Presicent as aproceedings                          would  be
preferabJ-e to leave fornal                     to the House     of Repre-
sentatives.     With  regard to'(c)  the  irand     jury shoul-d be advised
that it may return a presentment,      -wpich    stttei its conclusions
based. on the evidence it has heard but        which    does not initiate
a criminar prJce;eG; r an6 I i.vould juage, withthe
                                         propose      that       presentment
                                                             a,request    that
be submitted under seal to the chiei                         after   counsel
 it be fo::vrarded. to the House Judiciary      coxrnittee
 for the president have been given      an opportunity to submit any
ofj""tiorr=, *itfr.t on the lai    or the    flcts, that they may have'
      2.Afteryoumaket'heforegoing-decisions'Ireeommend'
that you or f oi both appear bef6re      the grand jurYr.at the
conclusion of lftu pt""eilation of the tapes, to-be    advise them
                                                         told that it
of these determj.nations. They     should canaiaty-
is not certain how the court iriff responl     to the submission
of a  presentment  but should   be advised  that  this matter will
be d.j.scussed with the chief   judge if  the gf?nd   jury is inclined
to return a presentment involving     the  Presid,ent.
       3. If the grand. jury indicates its tend.ency     loward re-
turning a presenimentr We    should  schedule  a  conferenge  vrith
Chief Judge Siti"" to'apprise     him in  advance  of  this possibl-e
                                                    mernorandum of l-aw
d.evetopment. i would bL-prepared !9 submit ainterest
to hjm at such   a meeting;  it  he indicated  an            in
receiving   it"
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                                        -3
ssd
           4. At. any such meeting we should reconrmend. to ,Tud.ge Sirica
      that the presentment. be received by hi:n und.er seal, with dis-
      closure only of the fact that the grancl       has made a submis-
      sion to him, and that the White Eouse beJury
                                                 given ten days to
      review the presentment and to make objections to its filing and
      transmission.




      Attachment




      cc   : Mr. Ruth (Vattachment)
             Ur. Kreind.Ler (w/o attachment)
             Mr. Ben-Veniste (w/o atEachment)
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                    ..   rufu
                   '/v          coNFTDENTTAL



     On Mond.ay, February   11, I met with the Judge at which
 time several matters were covered as we sat alone in the jrry
room. He again j-nd.icated. that provided the indictments came down
in time he would take the watergate case, stat,ing ttrat he had
been urged to do so by any n nrJoer of ,Judges flol across the
nation ttre most recent of them being those Who were in
attend.ance with hi:n at a meetinq in Atlanta. He expressed the
opinion that these ind,ictnents shourd be returned. as soon as
possible. He also stated. that henceforth all guilty pleas
would. be taken by hirn. we tauted about the vesco case and he
merely e>rpressed. the thougrht that perhaps a sealed" indictment
might be of some help. He mentioned one or two personal
matters such as an effort to smear him because of a completely
fabrieated tale relating to him and. his son, of which he
wanted me to be aware. Actually the discussion began wlth
his un-burd,ening himself to me on that particular matter. Ee
also mentioned. that he had been urged to speak at the State
Bar of Texas in San Antonio and ind.icated. that he would
accept this invitation.                                    ;
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                                 r)
                                 L




I{e sought my reaction and I urged' him to do so'
      TheJud'gecomenteduponthesLatusoimattersbefore
                                                         possibility
the grand jury which led into further coments on the
ofthegrandjr:ryconsideringsometypeofspecialrePortor
presentuenE.Heconsideredthlsaverytouchyprobl.emand
cauLioned as to what the public's reacEioll would
                                                    be tci'a
                                                   beyond its
gra:rd jury stepping out with something that was
                                                      could be
norcal bounds. I{e cautioned that the lieol-e eff ort
tainted by sonethlag irresponsibly beilg done by the
                                                         grand

 jury.Hestatedthatthepublicwou]-drightfu]-lyconc]-ude
                                             judicious but sirupl'y
 that the entire Proceeding had not been
 one of wanting to hurt the P-resident. Ile
                                               further said Ltrat
                                          jury but thac of the
 it was ,'ot the funcrion of iue grand
       Impeactrment f,srnmi 1tse tO express itsel-f
                                                    on that point'
 lIouse
 He then toLd me that in the event I observed
                                              anythiug aLong

 thatlinebeingconsideredbythegrandjurythaEhethought
                                                    grand jury
 it would be appropriate for hin to meet with Lhe
 in camera. I e:(Pressed the belief that it r'ras appropriate
 for the grand jury to refer io having in its
                                                possessior'

  evideneeLhaticbelievedtobemateria].aadre].evantto
  theimpeachmenEproceedings.andt'osuggesttotheCourtthat
  it be referred to the House conrni ttee for that
                                                     purpo'se ' I{e

                                               shouLd be inforrned
  colrrlte.red by stating that he believed' he
                                                           of that
  of the discretlon Lhat he could exercise in matters
                                                       prepared
  kind and furLher requested that I have a memorandurn
                                                       thls done'
  for him that, eovers this subject. I agreed to have
    Case 1:11-mc-00044-BAH Document 29 Filed 11/05/18 Page 17 of 20
                                                             Er//s/r                 c
            On the eve of Thursd,ay, February 28, with the Mitchell-
 Stans jury selected in New york and seguestered, it became ap-
 parent that we would move to bri-ng in the Watergate cover-up
 indictments on Friday morninq. After checking with Judge Sirica,
 the hour of 11;00 a,m. was decided upon.                                        d




#Imadeknowntohiminadvancethatsuchareportwas
 forthcom'ngc_
            On Thursday evening, February 28, just as I was preparing
 to leave the office   around 6245, Alexander Haig called saying that
 there were so many rumors afloat that he was concerned - that              he

 feared unexpecte.d developments, etc. and he wondered if there             was

 anything I could properly disclose.      I told him that there       was

 nothing I could disclose as to the contents of thq indictment or
 the report he had. heard would be made. I did tell him that if tbe
 grand jury made a report, in addition Lo returning'r.r- a'D indictment,
he should expect Judge Sirica, as v/ould I, to accept it and act on
it.  He stated. that he and the White House qfenerally were fully
expecting the grand jury evidence to be made available to the House
Judj-cj.ary Committee - that they realized it belonged. lhere. I srlg-
gested to him that the evidence may well have serious repercusgions
and he stated that he was aware of that.        I suggested that he         and

the President's counseL take a close look at the March 21 meeting
and the actions that followed, even though the Presid.ent took no
personal part in the evenLs that followed the March 21 meeting,
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                                                                     ,   /2'        d




            Finally,   he asked whether there was any indictment
contemplated involving Present White House aides, inasrnuch as
he needed. to rnake arrangements to meet the situation. I told
him none was contemplated at this time
          twice during the conversation, he said that he really
cal1ed to tell me that I was a "great American. " The second
time he mentioned it,  f said. "A1, I haven't done anything other
than what is my d.uty and I hope to continue to follow that course.
                                                                               rt




          we parted with my again expressing my concern that the
President's counsel had. not sufficiently and accurately assessed
the facts pertaining to the March 21 conference and the events
that took place that night. He saj-d it would be again reviewed'
           On the morning of March 1, I met with Judge Sirica in
chambers at 10:30,     reviewed the agenda consisting of (1)
                         We

presentation of indietments and sealed special report of the grand
jury i Q) unsealing of the special report and readinq by Judge
Sirica, and the acceptance of the report and its reseal-ing' I
told" Judge Sirica that I would ask the Court Lo specially assign
the case in view of its length and protracted nature and that I
was estimating the case would take three to four months to try'
I asked hiru to telL the grand jury to return in two weeks for
further consideration of other matters that had not been disposed
of. f had in mind the possibility of perjury indictments. I also
asked the Judge for a gag order under RuIe L-27 restraining extra-
judicial   statements.
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             Shortly before l'l:00, I l-eft Judge Sirica's       chambers

and went into the courtroom. As I left            Judge Sj-rica's chambers,
I heard the Judge teIl hj-s marshal not to be nervous. But the
Judge showed some signs of nervousness too. He told me that he
had not slept since 3:00 that morning. When court opened, Judge
Sirica's marshall was so nervous he could hardly speak the ritual
followed in opening a court,
          After opening, Judge Sirica looked at me, asked if I
had anything to take up with the court. I then rose, went to the
lecLern, and said: "May it please Your Honor, the grand jury has
an indictment to return.           It also has a sealed report to deliver
to the Court. " The rest of the agenda was then f ol-lovied includi-ng
delivery of a briefcase of material, along with the special report
to the Court - also a key to the briefcase. The Judge indicated
that he r,iould, have an order on the special report by Monday (he
told me he would transmit to the counsel for the House Judiciary
Committee under rules that would not interfere with the trial of
the. accused). The Judge in open court asked if           I had any further
comnents, and I stated:           "Due to the length of the trial,   conceiv-
abJ-y   three to    f   our months, it is the Prosecution's vier+ that under
Rule 3-3(c), t.his case should be speciall-y assigrned, and we so
recommend. " This meant that Judge Sirica couLd assign the case
 to himself, which he did do by order later entered that day.
'          The Judge then announced his gag rule and then adjourned
court,
             We    met in the Judge's chambers. f told him l thought all
went smoothly,           He in turn thanked me for niy help.   The Judge was
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leaving today to speak at the Universi-ty of Virginia       tomorrow,
to be back on Sunday. I told hjrrr f vras goinq to Texas and that
f would. be back on fuesday.    We   both agreed we would call    each
other in the interjm,    if necessary,
